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PETER A. MOORE, JR., CLERK
USOISTRICTCOURT,EDNC         IN THE UNITED STATES DISTRICT COURT

                      . FOR THE EASTERN DISTRICT OF NORTH CAROUNA

                                      ~DIVISION




                                 v.                                  NO .   5 ·. 21 ~c. V -   00   '171-B 0
                                                                 COMPLAINT




                   Plaintiff resides at:
                                        ....




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  I seek th~ following relief:




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